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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
C.C., individually and on behalf of D.A., a child
with a disability,

                               Plaintiff,
                                                      CIVIL ACTION NO.: 20 Civ. 1915 (GBD) (SLC)
       -v-
                                                              SETTLEMENT CONFERENCE
                                                                 SCHEDULING ORDER
NEW YORK CITY DEPARTMENT OF EDUCATION,

                               Defendant.


SARAH L. CAVE, United States Magistrate Judge.

       Plaintiff’s Letter-Motion requesting an adjournment of the January 21, 2021 settlement

conference (ECF No. 28) is GRANTED and the settlement conference is ADJOURNED to Thursday,

March 4, 2021 at 10:00 am on the Court’s conference line. The parties are directed to call the

Court’s conference line at 866-390-1828; access code: 380-9799, at the scheduled time.

       The Court will conduct the conference on its telephone conference line unless any counsel

would prefer to host the Settlement Conference through a secure video-teleconference service

such as Zoom, in which case such counsel may offer to do so after conferring and attaining the

consent of opposing counsel. The request and video conference details should also be emailed

to Chambers at least one week before the scheduled conference.

       Counsel are expected to read the Court’s “Standing Order Applicable to Settlement

Conferences Before Magistrate Judge Cave,” (“Standing Order”) which is attached and

incorporated by reference in this Order. The Court’s Settlement Practices, contained in the

Settlement Conference Scheduling Order and the Court’s Standing Order, serve to prepare the

Court and the parties for a productive settlement conference. On receipt of this Order, each
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counsel is directed to confirm with all other counsel, and any pro se parties, that they have

received a copy of this Order.

        Plaintiff is directed to make a settlement demand to the defendant (or reaffirm any prior

demand) no later than fourteen (14) days before the settlement conference. Defendant shall

inform Plaintiff of its response to the demand no later than seven (7) days before the conference.

If either party fails to comply with this requirement, the other side must: (i) promptly remind that

party of its obligation to comply; 1 and (ii) advise the Court that the required settlement

negotiations have not taken place.

        The parties should note that paragraph 4 of the Standing Order requires certain written

submissions, which must be received by the Court and opposing counsel no later than midnight

four (4) business days before the conference: that is Friday, February 26, 2021. These

submissions must be emailed to Chambers at cave_nysdchambers@nysd.uscourts.gov; the

submissions should not be submitted via the ECF system. Counsel must ensure that their client(s)

and insurer(s), if any, have read the other side’s submission before the conference.

        The parties are also directed to pay particular attention to paragraphs 3 and 7 of the

Standing Order, which set forth who must appear at the settlement conference. As noted in

paragraph 7, corporations (and any other party that is not a natural person) must send to the

conference the person responsible for giving settlement authority within the organization, not

someone who has received authority from another person. In addition, if an insurer has any role

in approving a settlement, a representative of the insurer with responsibility for authorizing




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 The parties are reminded that demands and responses must include all material, non-monetary elements, and that
such non-monetary elements must be reflected in the portion of the letter required by paragraph 4 of the Standing
Order that describes past settlement negotiations. Any monetary offers made before or during the settlement
conference are presumed to be offers to pay within 30 days unless specifically stated otherwise.
                                                       2
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settlement must also attend the conference. Counsel is responsible for ensuring that the

appropriate individuals appear.

         Pursuant to paragraph 9 of the Standing Order, counsel must seek a change in the date

of the conference if (1) an adjournment would permit a party to obtain information that would

make the conference more productive, or (2) a client who would otherwise participate by

telephone would be available to attend the conference in person if held on another date. Counsel

are directed to follow the instructions in paragraph 9 to request an adjournment.

         A defendant who intends to raise a lack of financial resources as a basis for its settlement

position must comply with the procedures in paragraph 10 of the Standing Order.

         Any party seeking a modification to the procedures required by this Order should make

an application promptly by Letter-Motion filed on ECF and should state the position of all other

parties as to the proposed modification. Such a Letter-Motion must be sent separately from the

letter required by paragraph 4 of the Standing Order and must comply with Magistrate Judge

Cave’s Individual Practices available at https://www.nysd.uscourts.gov/hon-sarah-l-cave.

         Should the parties resolve the litigation before the conference date, they must notify the

Court in writing immediately.

         The Clerk of Court is respectfully directed to close ECF No. 28 and to set this conference

as a settlement conference even though it will take place by telephone.


Dated:          New York, New York
                December 29, 2020

                                                      SO ORDERED



                                                      _________________________
                                                      SARAH L. CAVE
                                                      United States Magistrate Judge

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                                       UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF NEW YORK
SARAH L. CAVE
UNITED STATES MAGISTRATE JUDGE

                Standing Order Applicable to Settlement Conferences Before Magistrate Judge Cave
1.     Settlement conferences form no part of the record. All communications made as part of the settlement
       conference process are strictly confidential and may not be used for any purpose either in this litigation or
       elsewhere.

2.     Magistrate Judge Cave will function as a mediator, attempting to help the parties reach agreement on terms of
       settlement. This process requires that counsel and their clients be both prepared for the conference and candid
       with the Court. The Court expects to hold only one settlement conference.

3.     Each party must attend the settlement conference in person, accompanied by that party's lead trial attorney.
       Counsel must be fully knowledgeable concerning the facts of the case, relevant law, and the progress of the
       case to date, including settlement discussions.

4.     No later than four business days before the conference, each party must send to the Court and opposing
       counsel a letter of no longer than four (4) pages marked “Confidential Materials For Use Only At Settlement
       Conference,” setting forth concisely the following: (1) a discussion of the relevant facts and applicable law, with
       an emphasis on the issues more pertinent to settlement, including a discussion of liability and damages in the
       event liability were established; (2) if non-monetary relief is sought in addition to or instead of money damages,
       each party must set forth its position as to the provision of such relief; and (3) the history of settlement
       discussions, if any, including any prior offers or demands. 2 This letter must be received by the Court and
       opposing counsel no later than midnight four business days before the settlement conference. Counsel must
       immediately provide a copy of the opposing party’s letter to their client and/or insurer, and must also ensure
       before the conference that the client and/or insurer has read the opposing party’s letter. This letter, along with
       the Acknowledgment Form that appears following this Standing Order, must be sent to the Court by hand
       delivery or by email to: cave_nysdchambers@nysd.uscourts.gov. Any application for adjournment or other
       modification of the conference must be submitted via Letter-Motion on ECF in accordance with Magistrate
       Judge Cave’s Individual Practices, found at: https://www.nysd.uscourts.gov/hon-sarah-l-cave.

5.     At the settlement conference, counsel for each side should expect to make a succinct presentation (10-15
       minutes) in the presence of all parties and the Court summarizing the issues counsel believes are important for
       the client(s) and/or insurer(s) of the opposing party to consider for purposes of formulating a settlement
       position. The purpose of the presentation is to address and persuade the opposing party, not the Court. Thus,
       it is usually (1) unnecessary to recount in full the background of the dispute, and (2) unhelpful to discuss issues
       raised in the opposing party’s confidential settlement letter. The Court prefers that counsel not use slideware
       or other summary presentations, although key evidence from discovery in the case, that has previously been
       disclosed to the opposing party at least five (5) days before the conference or is already in the possession of the
       opposing party, may be helpful. After the initial statements, counsel may respond and have their clients speak
       if they choose.

6.     Following the presentations, the Court will meet separately with each side in private. In these meetings, the
       parties and their counsel must be prepared to inform the Court of the amount of attorneys’ fees and expenses
       incurred to date, and an estimate of the remaining costs (including attorneys’ fees) of litigating the case to
       judgment, including appeal.

7.     The presence in person of each party (the client), in addition to counsel, is essential to the settlement process.
       Also, if an insurance company has any role in approving a settlement, the decision-making representative of the
       insurer must attend in addition to the insured party. Because it is important that the decisionmakers on
       settlement hear their adversaries’ presentations and be available to answer questions from the Court, the
       person who attends the conference must be the person with ultimate responsibility for determining the amount
       of any settlement. Corporations, and any other party that is not a natural person, and insurers must send to

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    The Court notes that it is normally unhelpful for a party to state in this letter its final settlement position.
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     the conference the person ultimately responsible within the organization for giving settlement authority, not
     someone who has received authority from someone else. If a party believes that the individuals scheduled to
     attend the conference on behalf of the opposing party do not comply with this requirement, that party shall
     immediately confer with the opposing party and inform the Court by letter promptly if no resolution is reached.

              a.   In cases where the City Comptroller has authority over settlement, the Assistant Corporation
                   Counsel shall arrange in advance of the conference for a representative of the Comptroller either
                   to attend the conference or to be available by telephone.
              b.   A client or insurer’s attendance by telephone may be permitted if the party lives and works more
                   than 100 miles from the Courthouse and it would be a great hardship for the party to attend the
                   conference on any date. In these circumstances, if more than one individual will be appearing by
                   telephone, the parties must immediately arrange for a toll-free conference call number that the
                   individuals and the Court may dial into for the conference.
              c.   If a party does not speak fluent English, the party must bring an experienced simultaneous
                   interpreter. Counsel may not serve as the interpreter. Counsel should call Chambers if there is
                   any difficulty securing an interpreter.

8.   If a party fails to attend the settlement conference with all of the required persons—counsel, the client(s), the
     decision-making representative from the insurer, if any, and an interpreter, if needed—that party may be
     required to reimburse all of the other parties for their time and travel expenses, and may face other sanctions.

9.   If counsel becomes aware of the need or potential need for an adjournment of the date of the conference,
     counsel must make an application for the adjournment as soon as counsel is aware of the need. If the
     application is made more than fourteen (14) days in advance of the conference, no cause need be provided.
     Otherwise, counsel must provide reasons for seeking the adjournment.
              a. The parties are required to seek an adjournment if (1) an adjournment would permit discovery or
                   exchange of information that would make the conference more fruitful, or (2) a client or insurer
                   who would otherwise participate by telephone would be available to attend in person if the
                   conference were held on another date. To seek a new date within 45 days of the originally-
                   scheduled conference, contact Chambers at (212) 805-0214 to obtain an alternative date and time.
                   Counsel must then immediately consult with all other counsel as to their, their clients’, and their
                   insurer’s availability on the new date. The party must then file a Letter-Motion via ECF in
                   accordance with Magistrate Judge Cave’s Individual Practices requesting the new date and time
                   and indicating that it is agreed by all parties. If the party wishes to postpone by more than 45 days,
                   an adjournment sine die should be sought by Letter-Motion, should provide the position of each
                   party as to the request, and should specify an approximate time period when the conference
                   should be held. The Court notes that the scheduled conference date is not changed unless and
                   until the Court grants the written application to change the date.

10. If a defendant intends to claim that its financial situation is relevant to any potential or actual settlement offer
    (either based on the amount offered or a proposal to pay any portion in more than 30 days), the defendant shall
    inform plaintiff of this fact no later than fourteen (14) days before the conference. The parties should then
    discuss whether plaintiff seek proof of defendant’s claim and whether the defendant is willing to provide such
    proof, which must be provided at least three (3) days before the conference. A summary of any discussions on
    this topic shall be included in the letters required under paragraph 4 of this Standing Order.

11. The scheduling of a settlement conference has no effect on any deadlines or other pending obligations in the
    action.




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                           ATTENDANCE ACKNOWLEDGMENT FORM


CASE NAME: ___________________________________________________________________

DOCKET NUMBER: ______________________________________________________________

I represent the               Plaintiff             Defendant

       I acknowledge that I am attending a virtual settlement conference in on Judge Cave’s
       Telephone Conference Line on ____________________ at _______________________.
       Please provide the name of any co-counsel who will attend the conference with you.
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________


       I acknowledge that my client, and any other relevant decisionmakers, will attend the
       settlement conference.
       Please provide the name and title, if applicable, of the individuals who will attend:
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________


Next to the name of each conference participant, please indicate the last four digits of the phone
number from which they will be calling into the conference, e.g., John Doe (1234).


___________________________                                         _______________________
Signature                                                           Date

_________________________
Name (print)




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